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Case 7:21-cv-00214-CS Document 37 rileBo/24ec phage pS, ack
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Malik Brown Video 6/14/2020 in the yard Video starts at 9:14:20 and ends at 9:3

The beginning of the video is just the men in the yard walking back and forth. The following are my
observations as we get closer to the assault.

9:18:33 -51 Mr. Collins steps away from the fence and a crowd of people at the fence near the
basketball court where he is in plain view. No officers are in camera view observing. As Mr. Collins is
walking away from the crowd he appears to be straightening his arms in a downward motion. He stands
in clear view of the camera as he bends over and appears to doing something with his arms. He then
stands up, turns around and with his arms relaxed walks back to the fence by the basketball court.

9:28:05 — 25 Mr. Collins is seen walking from the side of the yard opposite the basketball court. He stops
in the same place he was before. He turns his back on the basketball court and bends over fiddling with
something in front of him. Then he is seen pulling something up with his right hand. Mr. Collins then
turns and walks toward the basketball court.

9:28- 39 Mr. Brown walks past Mr. Collins. They speak as Mr. Brown stops and turns towards Mr. Collins.

Mr. Brown turns away from Mr. Collins and walks away. The men-appear to have been speaking. Mr.
Collins follows Mr. Brown. There is no sound to the video so it is impossible to know the content or tone
of the conversation.

9:28:58 -9:29:31 Mr. Brown turns towards Mr. Collins. Mr. Collins raises the chain from his waist and
starts to swing the chain with force at Mr. Brown. Mr. Brown falls to the ground and Mr. Collins keeps
swinging the chain. Mr. Brown is kicking at Mr. Collins to try and prevent the blows from hitting him. Mr.
Collins swings at Mr. Brown’s legs. At one point Mr. Collins gets on the side of Mr. Brown and Mr. Brown
can no longer use his legs for defense. Mr. Brown is hit in the chest. Mr. Collins swings approximately 13
times at Mr. Brown before the officers pull him off of Mr. Brown. Mr. Brown is hit with the chain in the
chest, legs, and back that we can see. The last blow we cannot see where Mr. Brown is hit as Mr. Collins
is standing in the way of the camera.

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Grievance Number Desig./Gode Dale Filed
FCF-0159-20 /50 : 06/18/20
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— STATE | Community Supervision [“Associsted Cases Hearing Dale
10/08/20
ANDREW M.CUOMO = ANTHONY J. ANNUCCI aay

Governor . Acting Commissioner

Fishkill Correctional Facility

 

 

Title of Griavance

INMATE GRIEVANCE PROGRAM Failure To Protect
CENTRAL OFFICE REVIEW COMMITTEE

 

 

 

GRIEVANT'S REQUEST UNANIMOUSLY DENIED

Upon full hearing of the facts and circumstances in the instant case, the action requested herein is
hereby denied. CORC upholds the determination of the Superintendent for the reasons stated.

CORC notes that the grievant was involved in an appropriately documented Unusual Incident (UI) and

Use of Force (UOF) on 6/14/20 when he was assaulted by another incarcerated individual in the

keeplock recreation yard. He was promptly taken to medical for assessment and decontamination in

accordance with Directive #4903. The grievant was noted with having a 2 4” x 2:4” swollen area to

the back of his head and abrasions to his hands, elbows and legs and was transported to the outside

hospital for further treatment. It is also noted that staff were required to go through the keeplock gate _

to reach the incarcerated individuals and once adequate staff arrived, only the force necessary to stop

the assault was used. In addition, it is noted that the grievant and the other incarcerated individual
"were placed in mechanical restraints per their respective orders issued by the DSS in accordance

with Directive #4933.

With respect to the grievant's appeal, CORC finds insufficient evidence of malfeasance by staff and
advises him to address safety and security concerns to supervisory staff at the time of the incident for
any remedial action deemed warranted. CORC notes that he has since been transferred.

MAV/

 

 

This document has been electronically signed by Shelley M. Mallozzi

 
 

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SOUTHPORT CORRECTIONAL FACILITY
P.O. BOX 2000
PINE CITY, NEW YORK 14871-2000

NAME: |

 

SOUTHPORT NEOPOST FIRST-CLASS MAIL

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